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 Fill in this information to identify the case:
 Debtor name        2999TC Acquisitions, LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number        21-31954-hdh                                                                                           Check if this is an
 (if known)                                                                                                                amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and          Name, telephone         Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing              number, and email       (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip        address of              debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                          creditor                professional          unliquidated,   secured, fill in total claim amount and
                               contact                 services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total           Deduction       Unsecured
                                                                                             claim, if       for value       claim
                                                                                             partially       of
                                                                                             secured         collateral
                                                                                                             or setoff
1   Palisades Capital Realty                           Business Debt                                                          $5,000,000.00
    Advisors
    11601 Wilshire Blvd.
    Suite 1820
    Los Angeles, CA 90025

2   Moss Construction                                  Business Debt                          $4,000,000.00 $2,426,829.00 $1,573,171.00
    6950 TPC Drive
    Suite 300
    McKinney, TX 75070



3   Law Office of K. Walji                             Business Debt                                                            $150,000.00
    P.C.
    10701 Corporate Drive
    Suite 350
    Stafford, TX 77477

4   Greenburg Traurig                                  Attorney Fees                                                              $53,229.00
    2101 L Street NW
    Washington, DC 20037




5   McMurry Law, PLLC                                  Attorney Fees                                                              $42,000.00
    508 W. Lookout Drive
    Suite 14-74
    Richardson, TX 75080




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                      page 1
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Debtor       2999TC Acquisitions, LLC                                            Case number (if known) 21-31954-hdh
             Name


 Name of creditor and          Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing              number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip        address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                          creditor              professional          unliquidated,   secured, fill in total claim amount and
                               contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                     government                            calculate unsecured claim.
                                                     contracts)
                                                                                           Total           Deduction       Unsecured
                                                                                           claim, if       for value       claim
                                                                                           partially       of
                                                                                           secured         collateral
                                                                                                           or setoff
6   Reed Smith Law                                   Business Debt                                                              $40,000.00
    2850 Harwood Street
    Suite 1500
    Dallas, TX 75201



7   Metzger Law PLLC                                 Business Debt                                                              $40,000.00
    3626 N. Hall Street
    Suite 800
    Dallas, TX 75219-5133



8   HR Sterling LLC                                  Business Debt                                                              $28,800.00
    13901 Midway Rd
    Suite 102
    Dallas, TX 75244



9   Law Office of Bruce K                            Attorney Fees                                                              $22,540.00
    Thomas
    12900 Preston Rd
    Suite 590
    Dallas, Texas 75230

10 Dorsey & Whitney LLP                              Business Debt                                                              $22,456.00
   300 Crescent Court
   Suite 400
   Dallas, TX 75201



11 Pacheco Koch                                      Survey                                                                     $22,356.00
   7557 Rambler Road
   Suite 1400
   Dallas, TX 75231



12 Jackson Walker, LLP                               Business debt                                                              $22,316.00
   P.O. Box 130989
   Dallas, TX 75313-0989




13 Dallas County Tax Office                          Business Debt                                                              $21,808.00
   PO Box 139066
   Dallas, TX 75313




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 2
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Debtor       2999TC Acquisitions, LLC                                           Case number (if known) 21-31954-hdh
             Name


 Name of creditor and         Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing             number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip       address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                         creditor              professional          unliquidated,   secured, fill in total claim amount and
                              contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                    government                            calculate unsecured claim.
                                                    contracts)
                                                                                          Total           Deduction       Unsecured
                                                                                          claim, if       for value       claim
                                                                                          partially       of
                                                                                          secured         collateral
                                                                                                          or setoff
14 Robert Kemp Law                                  Business Debt                                                              $15,000.00
   2815 Valley View Lane
   Suite 202
   Dallas, TX 75234



15 The Marx Firm                                    Business Debt                                                              $12,500.00
   2999 Turtle Creek Blvd.
   Dallas, TX 75219




16 Richards, Layton &                               Business Debt                                                              $12,500.00
   Finger
   508 W. Lookout Dr
   Suite 14-74
   Richardson, TX 75080

17 Lawn Helpers LLC                                 Business Debt                                                              $12,000.00
   4026 Abilene Street
   Dallas, TX 75212




18 FAB Studio                                       Business Debt                                                              $10,000.00
   5005 Greenville Ave
   Suite 155
   Dallas, TX 75206



19 Quick Moves Resources                            Business Debt                                                               $4,057.50
   6810 Parkdale Dr.
   Dallas, TX 75227




20 Bluefrog Plumbin+Drain                           Business Debt                                                                 $615.00
   9101 Lyndon B Johnson
   Freeway
   Suite 300
   Dallas, TX 75243




Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 3
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 Fill in this information to identify the case and this filing:
 Debtor Name         2999TC Acquisitions, LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         21-31954-hdh
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
             or another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
             correct:


                    Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                    Schedule H: Codebtors (Official Form 206H)

                    A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                    Amended Schedule

                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                    (Official Form 204)

                    Other document that requires a declaration


             I declare under penalty of perjury that the foregoing is true and correct.




             Executed on 11/01/2021                       X /s/ Tim Barton
                         MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                              Tim Barton
                                                              Printed name
                                                              President
                                                              Position or relationship to debtor




Official Form 202                       Declaration Under Penalty of Perjury for Non-Individual Debtors
